                           BARFIELD & ASSOCIATES, LLC                     File No. 181281
                                                                          Loan No. 0331232130




INVOICE




Invoice #:    181281
Invoice Date: 02/19/2018
Fee:          450.00
Due Date:




Lender or Client:                                Borrower:
REGIONS BANK                                     PINDER, CATHERINE
215 FORREST ST 6TH FLOOR                         417 SE 12TH STREET
HATTIESBURG, MS 39401                            OCALA, FL 34471-3735




Item                                                                            Cost
MULTI-FAMILY APPRAISAL REPORT                                               $     450.00
                                                                            $
                                                                            $
                                                                            $
                                                                            $
                                                                            $
                                                                            $
                                                                            $
                                                                            $
                                                    Total Amount Due:       $     450.00




Terms:




Please remit payment to:

TODD L. BARFIELD, MAI, MRICS, CCIM
BARFIELD & ASSOCIATES, LLC
P.O. BOX 4338
OCALA, FL 34478




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